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PS 3

(12/04)
UNITED STATES DISTRICT COURT
for the
District of New Jersey
U.S.A. vs. Earlja Dudley Docket No. 3:20-mj-3019

Petition for Action on Conditions of Pretrial Release

COMES NOW NICHOLAS ZOTTI, PRETRIAL SERVICES OFFICER, presenting an
official report upon the conduct of defendant Earlja Dudley, who was placed under pretrial
release supervision by the HONORABLE TONIANNE J. BONGIOVANNI sitting in the
Court at Trenton, New Jersey, on June 29, 2020, under the following conditions:

1. Report to Pretrial Services as directed.

2. The defendant shall be released into the third-party custody of Shakarah Moreland and Diane
Moreland.

3, Home Incarceration with Location Monitoring — defendant is restricted to his residence at all
times except for employment, medical needs or treatment; religious services, and court
appearances or other activities pre-approved by the Court.

4. Maintain current residence or a residence approved by Pretrial Services.

5. The defendant's travel is restricted to New Jersey, unless otherwise approved by Pretrial
Services.

6. Surrender all passports and travel documents to Pretrial Services.

7. Do not apply for new travel documents.

8. Surrender/do not possess any firearms or other destructive device.

9. Substance abuse testing and/or treatment as deemed appropriate by Pretrial Services.

10. Mental health testing and/or treatment as directed by Pretrial Services.

On November 23, 2020, Your Honor ordered the defendant be subject to home detention with

Jocation monitoring. Additionally, the defendant was approved to attend bi-monthly dinner with
his children.

Respectfully presenting petition for action of Court and for cause as follows:

[SEE ATTACHED ADDENDUM]

PRAYING THAT THE COURT WILL ORDER rescind the Order entered on November 23,
2020 and reinstate the conditions of release ordered on June 29, 2020,
Case 3:20-mj-03019-TJB Document 22

ORDER OF COURT

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and made a part of the records 1m the above
case.

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HONORABEE TONIANNE J.
BONGIOVANNI

U.S. Magistrate Judge

 

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I declare under penalty of perjury that the
foregoing is true and correct.

Executed
on December 30, 2020

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NICHOLAS ZOTTI
U.S. Pretrial Services Officer
